                            Case 22-60020 Document 67 Filed in TXSB on 05/02/22 Page 1 of 1
  Fill in this information to identify the case:

               ,:+HDOWK//&
  Debtor name __________________________________________________________________
                                           6RXWKHUQ
  United States Bankruptcy Court for the: ______________________              7H[DV
                                                                 District of _________
                                                                                        (State)

  Case number (If known):       
                               _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
    ; No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        
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